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 January 9, 2025


 VIA CM/ECF


 Hon. J. Paul Oetken
 United States District Court, SDNY
 Thurgood Marshall United States Courthouse
 40 Foley Square
 New York, New York 10007

 Re:     Michael Saunders v. Loudpack Exoctics Holdings, LLC

 Dear Judge Oetken:

 My office has been retained by the Defendant in the above matter. 1 More specifically, my office
 received this case on or about January 6, 2025. As a result, I have only recently been in
 communication with the Defendant. The case docket indicates an answer due date of December
 30, 2024. I have conferred with Plaintiff's counsel, and in the interest of avoiding unnecessary
 default motion practice and in contemplation of settlement discussions, Plaintiff's counsel has
 graciously consented to an extension of Defendants' time to answer.

 In light of the above, I respectfully request that the Court extend the Defendant's deadline to
 respond to the Complaint by 60 days to provide the parties the opportunity to engage in settlement
 discussion, and if necessary, to permit Defendant to conscientiously respond to the Complaint.

 I have conferred with opposing counsel regarding the relief requested, and they join in this request.

 I thank the Court for its courtesies in this matter.




 1
   Pursuant to Dicks v. Catholic Supply of St. Louis, Inc. 2022 WL 1446229 at *1 (S.D.N.Y. October 25, 2022) (1:22-
 cv-7610-MKV), my filing of a notice of appearance does not constitute a waiver of a defense of personal
 jurisdiction, which Defendant has, and which Defendant expressly preserves.



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 Respectfully submitted,

 Very truly yours,

 BOUSQUET HOLSTEIN PLLC



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